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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                             Magistrate Judge Kathleen M. Tafoya

  Civil Action No. 07-cv-02235-MSK-KMT


  DONALD N. TARANTO,

         Plaintiff,

  v.

  UNITED STATES OF AMERICA,

         Defendant.


                                       MINUTE ORDER


  KATHLEEN M. TAFOYA, United States Magistrate Judge
  Janet D. Zinser, Judicial Assistant


  Plaintiff’s “Unopposed Motion to Participate in May 5, 2008, Status Conference by Telephone”
  (#51, filed April 29, 2008) is GRANTED. Counsel may appear via telephone for the status
  conference and shall call (303) 335-2780 at 9:00 a.m.

  Dated: April 30, 2008
